                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 IN RE ZIMMER BIOMET HOLDINGS,                      No.: 1:19-cv-1855-VAC
 INC. FEDERAL DERIVATIVE
 LITIGATION                                         NOTICE OF VOLUNTARY
                                                    DISMISSAL



       PLEASE TAKE NOTICE THAT plaintiffs Alex DiGaudio and Howard Karp hereby

voluntarily dismiss the above-captioned action without prejudice pursuant to Fed R. Civ. P.

41(a)(1)(A)(i), and with all parties to bear their own fees and costs. No defendant in this action

has served an answer or motion for summary judgment.

Dated: June 24, 2022

                                                COOCH AND TAYLOR, P.A.

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